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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JOHN HEYKOOP doing business as
EAGLE TOWING,
                                          NO. 1:18-cv-00632
       Plaintiff,
                                          HON. ROBERT J. JONKER
v
                                          MAG. PHILLIP J. GREEN
MICHIGAN STATE POLICE, DAVID
ROESLER, JEFFREY WHITE, and
CHRIS McINTIRE,

       Defendants.

Christopher S. Patterson (P74350)         Patrick S. Myers (P81444)
John S. Brennan (P55431)                  Assistant Attorney General
Fahey Schultz Burzych Rhodes PLC          Attorney for Defendants
Attorneys for Plaintiff                   Civil Litigation, Employment &
4151 Okemos Road                          Elections Division
Okemos, MI 48864                          P.O. Box 30736
(517) 381-0100                            Lansing, MI 48909
                                          (517) 373-6434
                                                                            /

                  DEFENDANTS’ AMENDED ANSWER TO
                 PLAINTIFF’S COMPLAINT, AFFIRMATIVE
               DEFENSES AND RELIANCE ON JURY DEMAND

      Defendants Jeffrey White and Chris McIntire, by counsel, answer Plaintiff’s

Complaint, by like-numbered paragraphs, as follows.

                            JURISDICTION AND VENUE

      1.     Defendants admit this Court has subject matter jurisdiction.

      2.     Defendants admit this Court may exercise supplemental jurisdiction

over the state law claim.

      3.     Defendants admit venue is proper.
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                           PARTIES AND COMMON FACTS

       4.     Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       5.     Defendants admit the allegations.

       6.     Defendants admit the allegations.

       7.     Defendants admit the allegations.

       8.     Defendants admit the allegations.

       9.     Defendants deny that the Hart and Rockford Posts maintain the No-

Preference Lists, but otherwise admit the allegations. Defendants admit that the

Hart and Rockford Posts use No-Preference Lists, which are maintained by Central

Dispatch.

       10.    Defendants admit the allegations.

       11.    Defendants deny that Plaintiff provided services without incident, but

otherwise admit the allegations.

       12.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       13.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.




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       14.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       15.    Defendants admit that Sheriff Mast notified Defendant White of his

intention to remove Plaintiff from the Oceana County No-Preference List due to

numerous complaints about Plaintiff, but otherwise deny the allegations.

       16.    Defendants deny that Plaintiff was never provided an opportunity to

respond to Defendants’ concerns, but otherwise admit the allegations.

       17.    Defendants deny that Plaintiff was removed from the list without

cause, but otherwise admit the allegations.

       18.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       19.    Defendants deny the allegations as untrue.

       20.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       21.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       22.    Defendants deny the allegations as untrue.




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       23.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       24.    Defendants admit the allegations.

       25.    Defendants deny the allegations as untrue.

                               COUNT I
             VIOLATION OF EQUAL PROTECTION (42 U.S.C § 1983)

       26.    Defendants incorporate all prior responses.

       27.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

       28.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       29.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       30. Defendants deny that Plaintiff was subjected to discriminatory and

unequal treatment, but otherwise admit the allegations.

       31. This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       32.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       33.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.




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      Defendants respectfully request that the Court dismiss all claims and grant

any other appropriate relief to Defendants.

                          COUNT II
       FIRST AMENDMENT RETALIATION CLAIM (42 U.S.C § 1983)

      34.   Defendants incorporate all prior responses.

      35.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

      36.   Defendants deny the allegations as untrue.

      37.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      38.   Defendants deny the allegations, and all their subparts, as untrue.

      39.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      40.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit they operated under color of law,

but otherwise deny the allegations as untrue.

      41.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      42.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      43.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.




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       44.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       45. This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

       Defendants respectfully request that the Court dismiss all claims and grant

any other appropriate relief to Defendants.

                             COUNT III
                PROCEDURAL DUE PROCESS (42 U.S.C § 1983)

       46.    Defendants incorporate all prior responses.

       47.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

       48.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       49.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       50.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations and their subparts.

       51.    Defendants deny the allegations as untrue.

       52.    Defendants deny the allegations as untrue.

       53.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.




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       54.    Defendants neither admit nor deny the allegations because they lack

knowledge or information sufficient to form a belief as to their truth and leave

Plaintiff to his proofs.

       55.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       56.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       57.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       58.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

       Defendants respectfully request that the Court dismiss all claims and grant

any other appropriate relief to Defendants.

                                COUNT IV
             CONSPIRACY TO VIOLATE CONSTITUTIONAL RIGHTS
                             (42 U.S.C § 1983)

       59.    Defendants incorporate all prior responses.

       60.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       61.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

       62.    This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.



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      63.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      64.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      65.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants admit the allegations.

      Defendants respectfully request that the Court dismiss all claims and grant

any other appropriate relief to Defendants.

                             COUNT V
              TORTIOUS INTERFERENCE WITH A BUSINESS
                  EXPECTANCY AND RELATIONSHIP

      66.   Defendants incorporate all prior responses.

      67.   Defendants admit that Defendant White was aware of Plaintiff’s

contract with Electric Forest LLC.

      68.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      69.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      70.   This is not a factual allegation and no response is necessary. If an

answer is deemed necessary, Defendants deny the allegations as untrue.

      Defendants respectfully request that the Court dismiss all claims and grant

any other appropriate relief to Defendants.




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                           AFFIRMATIVE DEFENSES

      1.     Some or all of Plaintiff’s losses and damages, if any, were caused by

Plaintiff’s own conduct or the conduct of others and not attributable to Defendants.

      2.     Defendants are entitled to qualified immunity or other immunity

granted by federal law.

      3.     To the extent that Plaintiff attempts to bring claims against

Defendants in their official capacities, the Eleventh Amendment bars such claims.

      4.     Defendants are entitled to governmental immunity or other immunity

granted by Michigan law. This immunity includes but is not limited to Defendants’

actions not being the proximate cause of Plaintiff’s losses.

      5.     Defendants object to any failure by Plaintiff to join all claims and

parties required to be joined.

      6.     Defendants reserve the right to raise further defenses or assert other

matters revealed by continuing investigation and discovery, including all defenses

available under Federal Rules of Civil Procedure 12 and 56, upon the completion of

discovery and as the Court permits.




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              DEFENDANTS’ RELIANCE UPON JURY DEMAND

      Defendants rely upon the jury demand filed in this matter, and will pay any

fee upon proper notification by the Court.

                                                 Respectfully submitted,

                                                 Bill Schuette
                                                 Attorney General

                                                 s/Patrick S. Myers
                                                 Patrick S. Myers (P81444)
                                                 Assistant Attorney General
                                                 Attorney for Defendants
                                                 Civil Litigation, Employment &
                                                 Elections Division
                                                 P.O. Box 30736
                                                 Lansing, MI 48909
                                                 517.373.6434
                                                 myersp4@michigan.gov
Date: August 21, 2018                            P81444


                           CERTIFICATE OF SERVICE


I hereby certify that on August 21, 2018, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of
such filing of the foregoing document as well as via US Mail to all non-ECF
participants.

                                                 s/Patrick S. Myers
                                                 Patrick S. Myers
                                                 Assistant Attorney General
                                                 Attorney for Defendants




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